Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 1 of 55 PageID #: 823



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------X
 S.B., A MINOR UNDER THE AGE OF 14, BY HIS
 MOTHER AND NATURAL GUARDIAN, RENEE
 LIVINGSTON and RENEE LIVINGSTON,
 INDIVIDUALLY,                                           MEMORANDUM & ORDER

                   Plaintiffs,

       -against-                                         14-CV-1021 (KAM)(PK)

 THE CITY OF NEW YORK, POLICE COMMISSIONER
 RAYMOND KELLY, FIRST DEPUTY COMMISSIONER
 RAFAEL PINEIRO, CHIEF OF DEPARTMENT JOSEPH
 ESPOSITO, and JOHN DOE POLICE OFFICERS AND
 SUPERVISORS ASSIGNED TO THE 73rd PRECINCT,

               Defendants.
 -----------------------------------------X



 -----------------------------------------X
 ALLAN THORNTON,

                   Plaintiff,

       -against-                                         14-CV-1924 (KAM)(PK)

 THE CITY OF NEW YORK, POLICE COMMISSIONER
 RAYMOND KELLY, FIRST DEPUTY COMMISSIONER
 RAFAEL PINEIRO, CHIEF OF DEPARTMENT JOSEPH
 ESPOSITO, and JOHN DOE POLICE OFFICERS AND
 SUPERVISORS ASSIGNED TO THE 73rd PRECINCT,

               Defendants.
 -----------------------------------------X




                                      1
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 2 of 55 PageID #: 824




 -----------------------------------------X
 TIMOTHY LIVINGSTON,

                   Plaintiff,

       -against-                                         15-CV-0462 (KAM)(PK)

 THE CITY OF NEW YORK, POLICE COMMISSIONER
 RAYMOND KELLY, FIRST DEPUTY COMMISSIONER
 RAFAEL PINEIRO, CHIEF OF DEPARTMENT JOSEPH
 ESPOSITO, and JOHN DOE POLICE OFFICERS AND
 SUPERVISORS ASSIGNED TO THE 73rd PRECINCT,

               Defendants.
 -----------------------------------------X



 -----------------------------------------X
 KENYETTA JACKSON,

                   Plaintiff,

       -against-                                         15-CV-0463 (KAM)(PK)

 THE CITY OF NEW YORK, POLICE COMMISSIONER
 RAYMOND KELLY, FIRST DEPUTY COMMISSIONER
 RAFAEL PINEIRO, CHIEF OF DEPARTMENT JOSEPH
 ESPOSITO, NEIL CASEY, ROBERT BEIERLE, and
 JOHN DOE POLICE OFFICERS AND SUPERVISORS
 ASSIGNED TO THE 73rd PRECINCT,

               Defendants.
 -----------------------------------------X




                                      2
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 3 of 55 PageID #: 825




 -----------------------------------------X
 SHANISE JONES,

                   Plaintiff,

       -against-                                         15-CV-0876 (KAM)(PK)

 THE CITY OF NEW YORK, POLICE COMMISSIONER
 RAYMOND KELLY, FIRST DEPUTY COMMISSIONER
 RAFAEL PINEIRO, CHIEF OF DEPARTMENT JOSEPH
 ESPOSITO, NEIL CASEY, ROBERT BEIERLE, and
 JOHN DOE POLICE OFFICERS AND SUPERVISORS
 ASSIGNED TO THE 73rd PRECINCT,

               Defendants.
 -----------------------------------------X



 -----------------------------------------X
 BRIANA JONES,

                   Plaintiff,

       -against-                                         15-CV-1146 (KAM)(PK)

 THE CITY OF NEW YORK, POLICE COMMISSIONER
 RAYMOND KELLY, FIRST DEPUTY COMMISSIONER
 RAFAEL PINEIRO, CHIEF OF DEPARTMENT JOSEPH
 ESPOSITO, NEIL CASEY, ROBERT BEIERLE, and
 JOHN DOE POLICE OFFICERS AND SUPERVISORS
 ASSIGNED TO THE 73rd PRECINCT,

               Defendants.
 -----------------------------------------X




                                      3
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 4 of 55 PageID #: 826



 MATSUMOTO, United States District Judge:

             Plaintiffs      Renee      Livingston       (“R.    Livingston”);    R.

 Livingston’s      minor    child      S.B.;     Allan    Thornton    (“Thornton”);

 Timothy     Livingston         (“T.     Livingston”);          Kenyetta     Jackson

 (“Jackson”); Shanise Jones (“S. Jones”); and Briana Jones (“B.

 Jones”) bring six separate actions against the City of New York

 (the “City”); former New York City Police Commissioner Raymond

 Kelly     (“Kelly”);      First    Deputy       Commissioner      Rafael    Pineiro

 (“Pineiro”);    Chief     of   Department       Joseph    Esposito   (“Esposito”)

 (collectively, the “City Defendants”); and John Doe Officers and

 Supervisors (“Doe Defendants”) alleging that defendants violated

 their   federal    civil    and    state       common   law    rights.    Plaintiffs

 Jackson, S. Jones, and B. Jones also allege violations of their

 federal civil and state common law rights by New York City Police

 Officers Neil Casey (“Officer Casey”) and Robert Beierle (“Officer

 Beierle”). All of the allegations arise from two related sets of

 purported arrests made on April 7, 2012 and April 26, 2012.

 Defendants have moved to dismiss all claims in each operative

 complaint. For the reasons provided herein, defendants’ motion to

 dismiss is GRANTED.




                                            4
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 5 of 55 PageID #: 827



                                 BACKGROUND

 I.    Documents Considered

             In deciding a motion to dismiss under Fed. R. Civ. P.

 12(b)(6), a court generally may “look only to the allegations on

 the face of the complaint.” Roth v. Jennings, 489 F.3d 499, 509

 (2d Cir. 2007). A court may, however, consider “documents attached

 to the complaint as an exhibit or incorporated in it by reference,

 matters of which judicial notice may be taken, or documents either

 in plaintiffs’ possession or of which plaintiffs had knowledge and

 relied on in bringing suit.” Chambers v. Time Warner. Inc., 282

 F.3d 147, 153 (2d Cir. 2002) (internal quotation marks, citation,

 and alterations omitted).

             Defendants have annexed a wide assortment of documents

 to their motion to dismiss, which they reference throughout their

 memoranda. For example, defendants ask the court to consider search

 warrants (e.g., No. 14-CV-1021, ECF No. 32, Declaration of Erica

 M. Haber (“Haber Decl.”), Exs. M-N), an arrest warrant (id., Ex.

 U), arrest reports (id., Exs. O-P, V), a complaint room screening

 sheet (id., Ex. Q), felony complaints (id., Ex. R), testimony at

 a hearing conducted pursuant to New York General Municipal Law

 § 50–h (id., Ex. Y), a transcript of a hearing before a New York

 State Supreme Court judge (id., Ex. T), and an officer’s memo book

                                      5
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 6 of 55 PageID #: 828



 (id., Ex. X). None of the above-described documents were discussed

 in any of plaintiffs’ complaints. Accordingly, the court declines

 to consider them. See Weaver v. City of New York, No. 13-CV-20,

 2014 WL 950041, at *2–4 (E.D.N.Y. Mar. 11, 2014) (declining to

 consider an arrest report because Second Circuit precedent does

 not “permit[] consideration of an arrest report on a 12(b)(6)

 motion” and declining to consider 50-h testimony in part because

 the plaintiff had “not referred to her 50-h testimony in the

 complaint”); Green v. City of Mount Vernon, 96 F. Supp. 3d 263,

 284 (S.D.N.Y. 2015) (considering a search warrant on a motion to

 dismiss    where   a   plaintiff’s        Fourth    Amendment     claims     were

 “explicitly based on their assertions that the warrant was invalid

 due to a lack of particularity and a lack of probable cause,” but

 refusing    to   consider    separate      search     warrant    submitted    by

 defendants “because that document is not referenced in Plaintiffs’

 [complaint], nor is there any evidence that Plaintiffs had notice

 of the document or that they relied on that document in drafting

 the [complaint]”); see also Glob. Network Commc’ns, Inc. v. City

 of New York, 458 F.3d 150, 157-58 (2d Cir. 2006) (finding that

 district   court   erred    by   considering       extrinsic    materials    that

 controverted factual allegations in the complaint, even though

 such materials were public records); Friedl v. City of New York,

                                       6
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 7 of 55 PageID #: 829



 210 F.3d 79, 84 (2d Cir. 2000) (vacating ruling because lower court

 had   considered    matters     outside     pleadings       in    dismissing      the

 plaintiff’s claims).

             Defendants cite Vasquez v. City of New York, No. 99-CV-

 4606, 2000 U.S. Dist. LEXIS 8887, at *2 n.1 (S.D.N.Y. June 29,

 2000), for the proposition that a district court may rely on

 “arrest reports,” “criminal complaints,” and “criminal disposition

 data” in addressing a motion to dismiss. (E.g., No. 14-CV-1021,

 ECF No. 33, Defendants’ Memorandum in Support of Motion to Dismiss

 (“Def. Mem.”) at 13.) In Vasquez, however, the court explained

 that it would consider only documents the plaintiff had relied on

 in framing his complaint. See 2000 U.S. Dist. LEXIS 8887, at *2

 n.1 (noting that plaintiff relied upon arrest report, criminal

 felony   complaint,    indictment,       and    acquittal        in     framing   his

 complaint).    By   contrast,    here,     it   is   not    at    all    clear    that

 plaintiffs relied on any of the documents (with the exception of

 an indictment (see infra Background - Part II)) that defendants

 seek to introduce.

             Plaintiffs’    statement       of   facts      in    their    opposition

 memorandum cites repeatedly to plaintiff R. Livingston’s 50-h

 testimony. Although R. Livingston mentions in her complaint that

 she “testified at a statutory hearing in compliance with Section

                                        7
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 8 of 55 PageID #: 830



 50H of the General Municipal Law” (No. 14-CV-1021, ECF No. 1,

 Complaint (“S.B. / R. Livingston Compl.”) ¶ 43), she did not attach

 or    cite   directly   to   any   part       of   her   50-h   testimony    in   her

 complaint.     Nor   did   she   implicitly        reference    any   part   of   the

 testimony in her complaint. In fact, “there is no reason to believe

 that [she] relied on the transcript of [her] own testimony, rather

 than [her] independent recollection of the events, in drafting the

 pleading.” Aguilera v. Cty. of Nassau, 425 F. Supp. 2d 320, 323

 (E.D.N.Y. 2006) (declining to consider 50-h testimony despite a

 plaintiff’s statement in his complaint that a 50-h hearing was

 held); see also HB v. Monroe Woodbury Cent. Sch. Dist., No. 11-

 CV-5881, 2012 WL 4477552, at *7 (S.D.N.Y. Sept. 27, 2012) (refusing

 to consider 50–h transcripts attached by plaintiffs in opposition

 briefs where “it [did] not appear that Plaintiffs relied on the

 transcripts . . . in         drafting     the       [complaint]”).     The    court

 therefore declines to consider R. Livingston’s 50-h testimony.

 II.    Factual Background

              At the pleading stage, the court assumes the truth of

 all of plaintiffs’ well-pleaded factual allegations. See Spagnola

 v. Chubb Corp., 574 F.3d 64, 67 (2d Cir. 2009). As noted above,

 plaintiffs bring six distinct actions arising from two separate

 incidents.

                                           8
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 9 of 55 PageID #: 831



       A.    The Parties

             The plaintiffs in the six actions are:

 (1)   R. Livingston and S.B. (who together filed a single complaint)

       (see No. 14-CV-1021, S.B. / R. Livingston Compl.);

 (2)   Thornton (see No. 14-CV-1924, ECF No. 1, Complaint (“Thornton

       Compl.”));

 (3)   T. Livingston (see No. 15-CV-462, ECF No. 1, Complaint (“T.

       Livingston Compl.”));

 (4)   Jackson (see No. 15-CV-463, ECF No. 19, Amended Complaint

       (“Jackson Am. Compl.”));

 (5)   S. Jones, Jackson’s adult daughter (see No. 15-CV-876, ECF

       No. 15, Amended Complaint (“S. Jones. Am. Compl.”)); and

 (6)   B. Jones, also Jackson’s adult daughter (see No. 15-CV-1146,

       ECF No. 18, Amended Complaint (“B. Jones Am. Compl.”)). 1

             The defendants, who differ in the individual actions,

 are the City, Kelly, Pineiro, Esposito, the Doe Defendants, Officer

 Casey, and Officer Beierle.

       B.    The April 7, 2012 Incident

             At all relevant times, R. Livingston and S.B. were

 residents of the second floor apartment at 1688 St. Marks. Ave. in


 1 Jackson, S. Jones, and B. Jones, as discussed further below, have amended
 their respective complaints. (See infra Background – Part III.) R. Livingston,
 S.B., Thornton, and T. Livingston have not amended their complaints.
                                       9
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 10 of 55 PageID #: 832



 Brooklyn, a premises with a basement, a ground floor commercial

 location, and a second floor apartment. (S.B. / R. Livingston

 Compl. ¶¶ 6, 46-49.) On April 7, 2012, Jackson was also present at

 1688 St. Marks, and Thornton and T. Livingston were working at one

 of the building’s ground floor businesses. (Jackson Am. Compl.

 ¶¶ 45, 47; Thornton Compl. ¶¶ 42-47; T. Livingston Compl. ¶¶ 42-

 47.) On April 7, 2012, at 11:30 p.m., members of the New York City

 Police    Department      purportedly    arrested    R.    Livingston,    S.B.,

 Thornton, T. Livingston, and Jackson at 1688 St. Marks. (S.B. / R.

 Livingston Compl. ¶¶ 56, 223; Thornton Compl. ¶ 47; T. Livingston

 Compl. ¶ 47; Jackson Am. Compl. ¶ 47.) Although R. Livingston,

 S.B., Thornton, and T. Livingston only allege generally that they

 were arrested by members of the New York City Police Department,

 Jackson specifically alleges that she was arrested by Officers

 Beierle and Casey. (See id.) Plaintiffs R. Livingston, S.B.,

 Thornton, T. Livingston, and Jackson each make similar allegations

 (though    with   minor    variations)       regarding    the   force   used   in

 effectuating the arrests. For example, plaintiffs Thornton, T.

 Livingston, and Jackson each allege that they were “thrown to the

 floor, assaulted, battered, placed in handcuffs, [and] illegally

 restrained.” (Thornton Compl. ¶ 48; T. Livingston Compl. ¶ 48;

 Jackson Am. Compl. ¶ 48.)

                                         10
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 11 of 55 PageID #: 833



             Subsequently,        on     April    20,    2012,     plaintiffs      R.

 Livingston, Thornton, T. Livingston, and Jackson were indicted by

 a grand jury in the Supreme Court of the State of New York. 2 (Haber

 Decl., Ex. S, Indictment (“Indictment”).)

             R.     Livingston    was    indicted      on:   (1)   two    counts   of

 Conspiracy    in    the   Fourth      Degree;   (2)    Unlawful    Possession     of

 Marijuana; (3) Criminally Using Drug Paraphernalia in the Second

 Degree; (4) Promoting Gambling in the Second Degree; (5) Criminal

 Possession of Marijuana in the Fifth Degree; and (6) Endangering

 the Welfare of a Child. (See id.)

             Thornton was indicted on: (1) two counts of Conspiracy

 in the Fourth Degree; (2) Unlawful Possession of Marijuana; (3)

 Criminally Using Drug Paraphernalia in the Second Degree; (4)

 Promoting    Gambling     in    the   Second    Degree;     (5)   four   counts   of

 Criminal Possession of a Weapon in the Second Degree; and (6) two

 counts of Criminal Possession of a Weapon in the Third Degree.

 (See id.)

             T.     Livingston    was    indicted      on:   (1)   two    counts   of

 Conspiracy    in    the   Fourth      Degree;   (2)    Unlawful    Possession     of




 2 The court considers the indictment in addressing the instant motion to dismiss
 because the indictment was explicitly referenced in the plaintiffs’ complaints.
 (See S.B. / R. Livingston Compl. ¶ 70; Thornton Compl. ¶ 65; T. Livingston
 Compl. ¶ 65; Jackson Am. Compl. ¶ 67.)
                                          11
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 12 of 55 PageID #: 834



 Marijuana; (3) Criminally Using Drug Paraphernalia in the Second

 Degree; (4) Promoting Gambling in the Second Degree; and (5)

 Criminal Possession of a Controlled Substance in the Third Degree.

 (See id.)

             Finally, Jackson was indicted on: (1) two counts of

 Conspiracy    in   the   Fourth   Degree;   (2)   Unlawful    Possession    of

 Marijuana; (3) Criminally Using Drug Paraphernalia in the Second

 Degree; and (4) Promoting Gambling in the Second Degree. (See id.)

             From the time of her arrest on April 7, 2012, plaintiff

 R.   Livingston     alleges    that   she    remained    in    custody     for

 approximately 45 days. (S.B. / R. Livingston Compl. ¶¶ 68-72.)

 From the time of their arrests on April 7, 2012, Thornton and T.

 Livingston allege that they remained in custody for “a significant

 period of time.” (Thornton Compl. ¶ 67; T. Livingston Compl. ¶ 67.)

 Jackson, by contrast, does not allege when she was released.

 (Jackson Am. Compl. ¶¶ 47-51, 65.) S.B., S. Jones, and B. Jones’s

 complaints are unclear as to whether they were ever in custody.

 (S.B. / R. Livingston Compl. ¶¶ 229-36; S. Jones Am. Compl. ¶¶ 59-

 66; B. Jones Compl. ¶¶ 59-66.)

       C.    The April 26, 2012 Incident

             On or about April 26, 2012, Jackson – who had by then

 apparently been released — alleges that she was once again arrested

                                       12
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 13 of 55 PageID #: 835



 by Officers Beierle and Casey (as well as other unnamed police

 officers) “after just getting out of the shower.” (Jackson Am.

 Compl. ¶¶ 51-52, 84.) Jackson’s adult daughters S. Jones and B.

 Jones allege that they, too, were arrested by Officers Beierle and

 Casey (as well as other unnamed police officers) on April 26, 2012.

 (S. Jones Am. Compl. ¶ 45; B. Jones Am. Compl. ¶ 45.) During the

 course of the April 26, 2012 arrests, Jackson, S. Jones, and B.

 Jones each allege that they were “placed in handcuffs” (S. Jones.

 Am. Compl. ¶ 46; B. Jones Am. Compl. ¶ 46; Jackson Am. Compl. ¶ 48)

 and thrown to the floor. (See Jackson Am. Compl. ¶¶ 48, 52 (“thrown

 to the floor”); S. Jones Am. Compl. ¶ 46 (“thrown violently to the

 floor”);    B.     Jones   Am.   Compl.   ¶ 46    (“thrown   violently   to   the

 floor”).)

             On or about November 7, 2014, all relevant criminal

 charges     were    formally     dismissed       as   against   R.   Livingston,

 Thornton, T. Livingston, and Jackson. (S.B. / R. Livingston Compl.

 ¶¶ 105-06; Thornton Compl. ¶¶ 100-01; T. Livingston Compl. ¶¶ 100-

 101; Jackson Am. Compl. ¶¶ 100-01.) Plaintiffs S.B., S. Jones, and

 B. Jones do not mention any criminal charges against them in their

 respective complaints.




                                           13
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 14 of 55 PageID #: 836



 III. Procedural History

              On February 18, 2014, R. Livingston and S.B. filed their

 complaint.    (S.B.      /   R.   Livingston    Compl.)      On   March   26,   2014,

 Thornton filed his complaint. (Thornton Compl.) On January 26,

 2015, T. Livingston filed his complaint. (T. Livingston Compl.) On

 January 26, 2015, Jackson filed her initial complaint. (No. 15-

 CV-463, ECF No. 1.) On February 19, 2015, S. Jones filed her

 initial complaint. (No. 15-CV-876, ECF No. 1.) On March 5, 2015,

 B. Jones filed her initial complaint. (No. 15-CV-1146, ECF No. 1.)

 Each    of   the    aforementioned       complaints     named      only   the   City

 Defendants and John Doe officers. On April 27, 2015, plaintiffs

 Jackson, S. Jones, and B. Jones requested a pre-motion conference

 to seek leave to amend their respective complaints to add Officers

 Casey and Beierle as defendants. (No. 15-CV-463, ECF No. 10; No.

 15-CV-876, ECF No. 7; No. 15-CV-1146, ECF No. 6.) On July 9, 2015,

 the court granted plaintiffs Jackson, S. Jones, and B. Jones leave

 to amend their complaints. (No. 15-CV-463, July 9, 2015 docket

 entry; No. 15-CV-876, July 9, 2015 docket entry; No. 15-CV-1146,

 July 9, 2015 docket entry.) On August 19, 2015, Jackson and S.

 Jones filed their amended complaints. (Jackson Am. Compl.; S. Jones

 Am.    Compl.)     On   August    24,   2015,   B.   Jones    filed   her   amended

 complaint. (B. Jones Am. Compl.)

                                           14
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 15 of 55 PageID #: 837



             Plaintiffs     S.B.,       R.     Livingston,     Thornton,    and    T.

 Livingston allege that the City Defendants and Doe Defendants

 violated their federal civil and state common law rights by, inter

 alia, falsely arresting them on April 7, 2012, using excessive

 force in the process of effectuating the April 7, 2012 arrests,

 and subsequently maliciously prosecuting them. Plaintiff Jackson

 alleges that the City Defendants and Doe Defendants, as well as

 Officers Casey and Beierle, violated her federal civil and state

 common   law   rights     by   inter    alia,     falsely    arresting     her   and

 subjecting her to excessive force on both April 7, 2012 and April

 26, 2012, and subsequently maliciously prosecuting her. Plaintiffs

 S. Jones and B. Jones each allege that the City Defendants and Doe

 Defendants, as well as Officers Casey and Beierle, violated their

 federal civil and state common law rights by, inter alia, falsely

 arresting them and subjecting them to excessive force on April 26,

 2012.

             Defendants have moved to dismiss all of the complaints

 in their entirety pursuant to Fed. R. Civ. P. 12(b)(6) and Fed. R.

 Civ. P. 12(c), and filed a memorandum in support of their motion.

 (Def. Mem.) Plaintiffs filed a memorandum in opposition, to which

 defendants     replied.    (No.   14-CV-1021,       ECF     No.   36,   Plaintiffs’

 Memorandum in Opposition to Motion to Dismiss (“Pl. Opp’n”); No.

                                             15
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 16 of 55 PageID #: 838



 14-CV-1021, ECF No. 34, Defendants’ Reply in Support of Motion to

 Dismiss (“Def. Reply”).)

                                 LEGAL STANDARD

             To survive a motion to dismiss, a complaint must plead

 “enough facts to state a claim to relief that is plausible on its

 face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A

 claim has facial plausibility when the plaintiff pleads factual

 content that allows the court to draw the reasonable inference

 that the defendant is liable for the misconduct alleged.” Ashcroft

 v. Iqbal, 556 U.S. 662, 678 (2009). A complaint need not contain

 “detailed factual allegations,” but must contain “more than an

 unadorned,    the-defendant-unlawfully-harmed-me           accusation.”       Id.

 (quoting Twombly, 550 U.S. at 555). “A pleading that offers ‘labels

 and conclusions’ or ‘a formulaic recitation of the elements of a

 cause of action will not do.’” Id. (quoting Twombly, 550 U.S. at

 555).

             In deciding a motion for judgment on the pleadings

 pursuant to Fed. R. Civ. P. 12(c), the court applies the same

 standards    applicable    to   motions    pursuant   to   Fed.   R.   Civ.   P.

 12(b)(6). See Hayden v. Paterson, 594 F.3d 150, 160 (2d Cir. 2010).




                                       16
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 17 of 55 PageID #: 839



                                  DISCUSSION

               There are well over 100 federal and state law claims

 asserted in these six actions. The court will therefore not list

 each individual claim. In this memorandum and opinion, the court

 addresses all of the following federal claims almost exclusively

 brought under 42 U.S.C. § 1983 (and the analogous state law claims)

 asserted by the plaintiffs: (1) false arrest; (2) excessive force;

 (3)    malicious       prosecution;    (4)     failure    to     intervene;   (5)

 conspiracy;      (6)     municipal    liability;        and    (7)    supervisory

 liability. Because the court declines to exercise supplemental

 jurisdiction over the balance of plaintiffs’ state law claims, the

 court will not list or address the remaining individual state law

 claims. 3

               To maintain an action under 42 U.S.C. § 1983, plaintiffs

 must   show    that    defendants,    acting    under    color   of   state   law,

 deprived them of “rights, privileges, or immunities secured by the

 Constitution or laws of the United States.” Pitchell v. Callan, 13

 F.3d 545, 547 (2d Cir. 1994) (citation omitted).




 3 The court agrees with defendants’ characterization of the balance of
 plaintiffs’ claims (those not listed in the above paragraph) as state law
 claims.   In  any  event,   plaintiffs have  not   questioned  defendants’
 characterizations.
                                        17
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 18 of 55 PageID #: 840



 I.      Abandoned Claims

               As noted above, plaintiffs’ six operative complaints

 include well over 100 total individual claims. The complaints often

 include identical language and very little factual detail to

 support the claims. Many of the individual claims provide an

 entirely inadequate “formulaic recitation of the elements of a

 cause    of   action.”     Twombly,   550    U.S.   at   555.   In   addition,

 plaintiffs’      omnibus    opposition      to   defendants’    thorough    and

 comprehensive motion to dismiss totaled 14 pages. (See Pl. Opp’n.)

 Plaintiffs’ opposition includes a fact section that only describes

 the circumstances surrounding the April 7, 2012 arrest of R.

 Livingston. 4 (Pl. Opp’n at 1-2.)

               Defendants moved for dismissal of all six complaints in

 their entirety, and their memorandum in support of the motion to

 dismiss addressed each claim raised by plaintiffs. By contrast,

 plaintiffs’ opposition responds only to the following claims: (1)

 R. Livingston’s federal and state malicious prosecution claims;



 4 The court also notes that the opposition brief violates Fed. R. Civ. P.
 5.2(a)(3) by providing the full name of the minor S.B., which also repeatedly
 appears unredacted in R. Livingston and S.B.’s complaint as well as in the
 declaration annexed to plaintiffs’ opposition brief. The Clerk of Court has
 therefore been directed to restrict access to the court and counsel for the
 following submissions: (1) R. Livingston’s opposition brief; (2) the declaration
 annexed to the opposition brief; and (3) R. Livingston and S.B.’s complaint.
 See Taylor v. Taylor, No. 12-CV-37, 2013 WL 1183290, at *1 n.3 (N.D.N.Y. Mar.
 21, 2013) (ordering sealing of opposition brief and certain exhibits where
 minors’ full names were revealed).
                                       18
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 19 of 55 PageID #: 841



 (2) all plaintiffs’ federal and state excessive force claims; (3)

 S. Jones and B. Jones’s federal false arrest claims; (4) all

 plaintiffs’ federal failure to intervene claims; and (5) all

 plaintiffs’ claims, under Monell v. Department of Social Services,

 436 U.S. 658 (1978), against the City of New York. 5

             Accordingly, although all other claims can properly be

 deemed abandoned, see Newton v. City of New York, 738 F. Supp. 2d

 397, 416 n.130 (S.D.N.Y. 2010) (“[Plaintiff] did not respond to

 defendants’ motion to dismiss his claim against the City for [a

 police officer-defendant’s] wrongdoing in his Opposition Brief,

 and therefore abandoned his claim.” (emphasis omitted)); see also

 Jackson v. Fed. Exp., 766 F.3d 189, 195 (2d Cir. 2014) (“[A]

 partial response arguing that summary judgment should be denied as

 to some claims while not mentioning others may be deemed an

 abandonment of the unmentioned claims.”); Kronemberg v. Winthrop

 Univ. Hosp., No. 15-CV-3235, 2016 WL 2939153, at *1 n.1 (E.D.N.Y.

 May 19, 2016); Arma v. Buyseasons, Inc., 591 F. Supp. 2d 637, 643

 (S.D.N.Y. 2008) (“This Court may, and generally will, deem a claim

 abandoned when a plaintiff fails to respond to a defendant’s



 5 Plaintiffs’ opposition also argues that the April 7, 2012 claims against the
 Doe Defendants and Officers Beierle and Casey relate back to the filing of the
 original complaints and that S.B.’s claims are not time-barred due to his
 infancy. Aside from the particular claims described above, however, plaintiffs
 do not defend any of their additional claims on the merits.
                                      19
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 20 of 55 PageID #: 842



 arguments that the claim should be dismissed.” (internal quotation

 marks and citation omitted)), the court nevertheless turns to an

 analysis of plaintiffs’ federal (and state law analogue) claims.

 II.   Relation Back

             Defendants first argue that plaintiffs R. Livingston,

 Thornton, T. Livingston, and Jackson’s claims arising directly

 from the April 7, 2012 incident — including their federal claims

 of false arrest and false imprisonment, excessive force, and

 failure to intervene — should be dismissed as against the Doe

 Defendants and Officers Casey and Beierle because the claims are

 untimely. 6 (Def. Mem. at 14-21.) Specifically, defendants argue

 that claims against the Doe Defendants and Officers Casey and

 Beierle do not (and could not, even if plaintiffs were permitted

 to amend) relate back under Fed. R. Civ. P. 15. (Id.)

             The statute of limitations applicable to federal claims

 of false arrest and false imprisonment, excessive force, and

 failure to intervene is three years. See Gilmore v. Goord, 360 F.

 Supp. 2d 528, 530 (W.D.N.Y. 2005); Shomo v. City of New York, 579

 F.3d 176, 181 (2d Cir. 2009) (“The statute of limitations for




 6 Defendants concede for purposes of the instant motion that S.B.’s claims were
 tolled due to his infancy, but nevertheless contend that all of his claims fail
 on the merits. (Def. Reply at 3 n.4.) Defendants have not argued that plaintiffs’
 claims arising from the April 26, 2012 incident do not relate back.
                                        20
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 21 of 55 PageID #: 843



 claims brought under Section 1983 is governed by state law, and in

 this case is the three-year period for personal injury actions

 under New York State law.”). The statute of limitations begins to

 run on a § 1983 claim when a plaintiff knows of the injury on which

 a claim is predicated. See Cornwell v. Robinson, 23 F.3d 694, 703

 (2d Cir. 1994). If a defendant is named outside the statute of

 limitations in an action that was otherwise brought within the

 statute    of   limitations,    the   question   becomes   whether    claims

 against that particular defendant relate back to the filing of the

 complaint.

             Here, the statute of limitations began to run on R.

 Livingston, Thornton, T. Livingston, and Jackson’s § 1983 claims

 arising from the April 7, 2012 incident when they were arrested.

 The limitations period ran three years later, on April 7, 2015. R.

 Livingston, Thornton, T. Livingston, and Jackson each filed their

 initial complaints before April 7, 2015. R. Livingston, Thornton,

 and T. Livingston, however, only named the City Defendants and the

 Doe Defendants. They have not named or served any other individual

 or entity. R. Livingston, Thornton, and T. Livingston contend that

 their claims against the Doe Defendants arising from the April 7,

 2012 incident relate back to the filing of the complaint. (Pl.

 Opp’n at 6-8.) By contrast, Jackson filed a pre-motion conference

                                       21
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 22 of 55 PageID #: 844



 letter seeking leave to amend her complaint to add Officers Beierle

 and Casey on April 27, 2015 (No. 15-CV-463, ECF No. 10), outside

 the limitations period for the April 7, 2012 claims. Jackson argues

 that her proposed claims arising from the April 7, 2012 incident

 against Officer Beierle, Officer Casey, and the Doe Defendants

 relate back to the filing of her original, timely complaint. (Pl.

 Opp’n at 6-8.)

       A.    Relation Back Under Fed. R. Civ. P. 15(c)(1)(C)

             The federal standard for relation back is governed by

 Fed. R. Civ. P. 15(c)(1)(C). Where an amended complaint adds a new

 party, to relate back under Fed. R. Civ. P. 15(c)(1)(C) the

 following requirements must be met:

       (1) the claim must have arisen out of conduct set out in
       the original pleading;

       (2) the party to be brought in must have received such
       notice that it will not be prejudiced in maintaining its
       defense;

       (3) that party should have known that, but for a mistake
       of identity, the original action would have been brought
       against it; and . . .

       (4) the second and third criteria are fulfilled within
       120 days of the filing of the original complaint,
       and . . . the original complaint [was] filed within the
       limitations period.

 Hogan v. Fischer, 738 F.3d 509, 517 (2d Cir. 2013) (emphasis in

 original).

                                      22
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 23 of 55 PageID #: 845



             Here,    none   of    the   plaintiffs     have   met       the   third

 requirement under Fed. R. Civ. P. 15(c)(1)(C) regarding the Doe

 Defendants, Officer Beierle, and Officer Casey because the failure

 to name the Doe Defendants, Officer Beierle, and Officer Casey

 before the expiration of the statute of limitations for the April

 7, 2012 federal claims was not the product of a “mistake of

 identity.” A “failure to identify individual defendants when the

 plaintiff knows that such defendants must be named cannot be

 characterized as a mistake.” Id. at 518 (internal quotation marks

 and   citation    omitted).      “[L]ack     of   knowledge   of    a    John    Doe

 defendant’s name does not constitute a ‘mistake of identity.’”

 Ceara v. Deacon, 68 F. Supp. 3d 402, 407 (S.D.N.Y. 2014) (internal

 quotation    marks    and   citation       omitted).   Plaintiffs        offer    no

 explanation whatsoever for the failure to name the Doe Defendants,

 Officer Beierle, or Officer Casey. They simply argue that the named

 officers were “united in interest” with the City (Pl. Opp’n at 6-

 8.), which is irrelevant to whether they have met the “mistake”

 requirement under Fed. R. Civ. P. 15(c)(1)(C). Accordingly, the

 court concludes that plaintiffs’ federal claims against the Doe

 Defendants, Officer Beierle, and Officer Casey arising from the

 April 7, 2012 incident are time-barred. See Young-Flynn v. Kelly,

 234 F.R.D. 70, 74 (S.D.N.Y. 2006) (finding that claims against

                                         23
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 24 of 55 PageID #: 846



 newly-added defendant did not relate back in pro se action, where

 defendant    was   not   named   because   plaintiff   did   not   know   his

 identity).

       B.    Relation Back Under Fed. R. Civ. P. 15(c)(1)(A)

             Plaintiffs argue that their claims relate back under

 Fed. R. Civ. P. 15(c)(1)(A), which “permits an amended pleading to

 relate back when ‘the law that provides the applicable statute of

 limitations allows relation back.’” Hogan, 738 F.3d at 509 (quoting

 Fed. R. Civ. P. 15(c)(1)(A)). Under New York law, N.Y. C.P.L.R.

 § 203 authorizes relation back of a previously unknown defendant.

 Section 203 permits claims against new defendants to relate back

 when:

       (1) both claims arose out of same conduct, transaction
       or occurrence, (2) the new party is ‘united in interest’
       with the original defendant, and by reason of that
       relationship can be charged with such notice of the
       institution of the action that he will not be prejudiced
       in maintaining his defense on the merits and (3) the new
       party knew or should have known that, but for [a] mistake
       by plaintiff as to the identity of the proper parties,
       the action would have been brought against him as well.

 Amaya v. Garden City Irrigation, Inc., 645 F. Supp. 2d 116, 121

 (E.D.N.Y. 2009) (emphasis added) (internal quotation marks and

 citation omitted). The “mistake” requirement in § 203 tracks the

 “mistake” requirement in Fed. R. Civ. P. 15(c)(1)(C). See Terry v.

 City of Rochester, No. 10-CV-6579, 2016 WL 1192693, at *4 n.2

                                      24
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 25 of 55 PageID #: 847



 (W.D.N.Y. Mar. 22, 2016) (“New York Courts have held that the

 ‘mistake’ requirement in section 203 is to be interpreted in the

 same way as the mistake requirement found in Rule 15(c)(l)(C).”).

 Accordingly, for the same reasons the April 7, 2012 claims against

 the Doe Defendants, Officer Beierle, and Officer Casey do not

 relate back under Fed. R. Civ. P. 15(c)(1)(C), they do not relate

 back under N.Y. C.P.L.R. § 203. See Bender v. City of New York,

 No. 14-CV-4386, 2015 WL 524283, at *6 (S.D.N.Y. Feb. 10, 2015)

 (“Because [plaintiff] cannot satisfy Rule 15(c)(1)(C)’s ‘mistake’

 element, she cannot satisfy § 203(c) either.”).

             As noted above, plaintiffs argue that the “officers are

 united in interest with the City of New York.” (Pl. Opp’n at 6.)

 Even if plaintiffs are correct that the officers are united in

 interest with the City, however, they do not address the entirely

 distinct “mistake” requirement under § 203. See Amaya, 645 F. Supp.

 2d at 123 (finding that plaintiffs who satisfied the “unity in

 interest” prong of § 203 had nevertheless failed to satisfy the

 “mistake” prong). 7


 7 Although plaintiffs do not rely on N.Y. C.P.L.R. § 1024, that statute provides

 a special mechanism for asserting claims against John Doe Defendants under New
 York law. See Terry, 2016 WL 1192693, at *4. Section 1024, however, requires
 that a party “exercise due diligence, prior to the running of the statute of
 limitations, to identify the defendant by name.” Hogan, 738 F.3d at 519
 (internal quotation marks and citation omitted). Here, there is no indication
 at all in the record that plaintiffs exercised “due diligence” to identify any
 particular defendant by name or that defendants withheld information about
                                       25
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 26 of 55 PageID #: 848



             Accordingly, R. Livingston, Thornton, T. Livingston, and

 Jackson’s    federal   false    arrest,    false   imprisonment,    excessive

 force, and failure to intervene claims arising from the April 7,

 2012 incident and asserted against the Doe Defendants, Officer

 Beierle, and Office Casey do not relate back, are untimely, and

 therefore are dismissed. 8

 III. False Arrest Claims Arising From the April 26, 2012 Incident

             Although R. Livingston, Thornton, T. Livingston, and

 Jackson’s federal false arrest claims arising from the April 7,

 2012 incident are time-barred as against the Doe Defendants,

 Officer Beierle, and Officer Casey (see supra Discussion – Part

 II), Jackson, S. Jones, and B. Jones also bring false arrest and

 false imprisonment claims arising from the April 26, 2012 incident.

 Because “false arrest and false imprisonment are essentially the

 same causes of action,” Dickerson v. Monroe Cty. Sheriff’s Dep’t,

 114 F. Supp. 2d 187, 191 (W.D.N.Y. 2000), the court’s analysis

 here applies to both. See Mitchell v. Home, 377 F. Supp. 2d 361,



 particular officers who were involved in the April 7, 2012 incident. Plaintiffs
 do not argue otherwise. See Doe v. New York, 97 F. Supp. 3d 5, 18-20 (E.D.N.Y.
 2015) (finding claims untimely under N.Y. C.P.L.R § 1024 where plaintiff failed
 to act with due diligence). Accordingly, plaintiffs’ claims do not relate back
 under N.Y. C.P.L.R. § 1024.
 8 Because the court dismisses R. Livingston, Thornton, T. Livingston, and

 Jackson’s federal claims arising out of the April 7, 2012 incident (as well as
 all other federal claims in the six related actions), the court does not address
 any of R. Livingston, Thornton, T. Livingston, or Jackson’s state law claims
 arising out of the April 7, 2012 incident.
                                       26
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 27 of 55 PageID #: 849



 376 (S.D.N.Y. 2005) (“Because a cause of action for false arrest

 is essentially the same tort as false imprisonment, they will be

 discussed    as   one   cause   of    action.”   (citation   omitted)).   To

 adequately plead a false arrest claim under § 1983 (as well as

 under state law), a plaintiff must show that “(1) the defendant

 intended to confine the plaintiff, (2) the plaintiff was conscious

 of the confinement, (3) the plaintiff did not consent to the

 confinement,      and   (4)     the   confinement    was     not   otherwise

 privileged.” Savino v. City of New York, 331 F.3d 63, 75 (2d Cir.

 2003) (internal quotation marks and citation omitted).

             Jackson’s false arrest and false imprisonment claims

 arising from her April 26, 2012 arrest are barred because — as she

 admits — she was indicted by a grand jury. (Jackson Am. Compl.

 ¶ 67.) The “cause of action for false arrest or imprisonment . . .

 [does not] permit[] damages for confinement imposed pursuant to

 legal process.” Heck v. Humphrey, 512 U.S. 477, 484 (1994). A

 “warrant predicated on grand jury action bars a false arrest claim,

 requiring the plaintiff to proceed instead under a theory of

 malicious prosecution.” Bertuglia v. City of New York, 839 F. Supp.

 2d 703, 734 (S.D.N.Y. 2012) (internal quotation marks and citation

 omitted).



                                        27
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 28 of 55 PageID #: 850



             S. Jones and B. Jones, however, were not indicted by a

 grand jury. Defendants claim that S. Jones and B. Jones were not

 even arrested. (Def. Mem. at 24 (“[I]t is clear from the record,

 and by their own allegations, that plaintiffs S. Jones and B. Jones

 were not arrested, but rather were detained during the execution

 of a lawful search warrant.”).) S. Jones and B. Jones both allege

 that, during the April 26, 2012 search, they were “illegally

 stop[ped]    and   arrest[ed],”   “illegally    restrained,”    “denied   of

 [their] liberty to move or leave the apartment,” and that they

 “stood there in handcuffs as police officers ransacked [their]

 apartment.” (S. Jones Am. Compl. ¶¶ 45-50; B. Jones Am. Compl.

 ¶¶ 45-50.) Although S. Jones and B. Jones appear to concede that

 they were not formally arrested (as their mother, Jackson, was),

 they    argue   that    their   “forcible     handcuffing . . .     clearly

 constituted an arrest and imprisonment.” (Pl. Opp’n at 8-9.)

             Plaintiffs are correct that “[u]nder both federal and

 New York law, a plaintiff need not have been formally arrested to

 claim false arrest.” Calderon v. City of New York, 138 F. Supp. 3d

 593, 610 (S.D.N.Y. 2015). Officers may, however, “detain the

 occupants of the premises while a proper search is conducted,”

 Michigan v. Summers, 452 U.S. 692, 705 (1981); see also Bancroft

 v. City of Mount Vernon, 672 F. Supp. 2d 391, 403 (S.D.N.Y. 2009)

                                      28
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 29 of 55 PageID #: 851



 (“Police executing a search warrant are privileged to detain

 individuals, even to the point of handcuffing them, while the

 search is carried out.”).

             In Muehler v. Mena, 544 U.S. 93, 95 (2005), the Court

 considered the claim of a § 1983 plaintiff who alleged she had

 been unreasonably detained during a search of her father’s house,

 where she was residing. During the search, the officers discovered

 the plaintiff in her bed, pointed a submachine gun at her, and

 handcuffed her. Id. at 96; see also Mena v. City of Simi Valley,

 332 F.3d 1255, 1259-61 (9th Cir. 2003), vacated and remanded sub

 nom. Mena, 544 U.S. at 95. The officers kept her in handcuffs for

 between two and three hours in a converted garage as they conducted

 the search, and subsequently released her. Mena, 544 U.S. at 96,

 100. The Court held that the detention did not run afoul of the

 Fourth Amendment. Id. at 95, 102. The Court first explained that

 an   “officer’s    authority    to   detain   incident   to   a   search   is

 categorical; it does not depend on the quantum of proof justifying

 detention or the extent of the intrusion to be imposed by the

 seizure.”    Id.   at   98   (internal    quotation   marks   and   citation

 omitted). The plaintiff’s “detention for the duration of the search

 was reasonable . . . because a warrant existed to search [the



                                      29
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 30 of 55 PageID #: 852



 residence] and she was an occupant of that address at the time of

 the search.” Id.

             Here, the detentions of S. Jones and B. Jones — as

 alleged in their amended complaints — do not rise to the level of

 the prolonged, intrusive detentions held valid in Mena. S. Jones

 and B. Jones make conclusory allegations that they were “illegally

 restrained,” “denied of [their] liberty to move or leave the

 apartment,” and that they “stood there in handcuffs as police

 officers ransacked [their] apartment.” (S. Jones Am. Compl. ¶¶ 45-

 50; B. Jones Am. Compl. ¶¶ 45-50.) Plaintiffs provide no further

 factual    elaboration    regarding   the   duration   or   nature   of   the

 restraint. Because the law is clear that individuals not suspected

 of criminal activity can be detained incident to a lawful search,

 see Mena, 544 U.S. at 95, 102, mere allegations that plaintiffs

 were handcuffed and denied the ability to leave their apartment

 cannot state a claim for relief as the defendants’ alleged acts

 are consistent with legitimate police action. See id.; Bancroft,

 672 F. Supp. 2d at 396-98, 403-04 (dismissing unreasonable seizure

 claim under Mena where police officers, inter alia, (1) mistakenly

 searched, pursuant to a facially valid warrant, the wrong apartment

 for firearms and (2) detained and handcuffed a partially nude

 female plaintiff without immediately allowing her to dress); see

                                       30
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 31 of 55 PageID #: 853



 also Twombly, 550 U.S. at 554 (recognizing the need at the pleading

 stage for allegations “plausibly suggesting (not merely consistent

 with)” liability). 9

             Accordingly, Jackson, S. Jones, and B. Jones’s false

 arrest and false imprisonment claims arising from the April 26,

 2012 incident are dismissed. To the extent that Jackson, S. Jones,

 and B. Jones assert state law false arrest or false imprisonment

 claims arising from the April 26, 2012 incident, such claims are

 subject to the same analysis provided above and are therefore

 dismissed for the same reasons. See Fanelli v. City of New York,

 No. 13-CV-1423, 2013 WL 6017904, at *2 n.4 (S.D.N.Y. Nov. 1, 2013)

 (“[T]he elements of false arrest and false imprisonment are the

 same (under both federal and state law).” (citation omitted)). 10

 IV.   Excessive    Force   Claims    Arising   From    the   April   26,   2012
       Incident

             Although R. Livingston, Thornton, T. Livingston, and

 Jackson’s     federal    excessive     force    claims    against    the    Doe

 Defendants, Officer Beierle, and Officer Casey arising from the



 9 S.B.’s false arrest and false imprisonment claims (S.B. / R. Livingston Compl.

 ¶¶ 219-36) fail for the same reasons outlined above with respect to S. Jones
 and B. Jones. Although S.B. was apparently taken to a police station on April
 7, 2012 (id. ¶ 222), he sets forth no facts indicating that his detention was
 unreasonable in light of his mother’s detention.
 10 To the extent Jackson, S. Jones, and B. Jones allege that any of the City

 Defendants are liable for falsely arresting them on April 26, 2012, such claims
 fail for lack of alleged personal involvement.
                                       31
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 32 of 55 PageID #: 854



 April 7, 2012 incident are time-barred (see supra Discussion –

 Part II), plaintiffs Jackson, S. Jones, and B. Jones also bring

 excessive force claims arising out of the April 26, 2012 incident.

 “Police officers’ application of force is excessive, in violation

 of the Fourth Amendment, if it is objectively unreasonable in light

 of the facts and circumstances confronting them, without regard to

 their underlying intent or motivation.” Maxwell v. City of New

 York, 380 F.3d 106, 108 (2d Cir. 2004) (internal quotation marks

 and citation omitted). “Not every push or shove, even if it may

 later seem unnecessary in the peace of a judge’s chambers, violates

 the Fourth Amendment.” Graham v. Connor, 490 U.S. 386, 396 (1989)

 (internal quotation marks and citation omitted). 11

             Further, a “plaintiff must allege that he sustained an

 injury to maintain an excessive force claim. Such injury need not

 be severe, however.” Acosta v. City of New York, No. 11-CV-856,

 2012 WL 1506954, at *10 (S.D.N.Y. Apr. 26, 2012) (citing Robison

 v. Via, 821 F.2d 913, 924 (2d Cir. 1987)). “[T]he Second Circuit


 11To the extent plaintiffs assert Eighth Amendment violations arising from the
 circumstances of the arrest (see, e.g., Jackson Am. Compl. (“Said use of
 excessive force . . . constituted cruel and unusual treatment under the Eighth
 Amendment . . . .”)), such claims fail as a matter of law. See Johnson v.
 Ledwin, No. 05-CV-658, 2008 WL 4147251, at *1 n.3 (W.D.N.Y. Sept. 2, 2008)
 (“Because the alleged violations of Plaintiff’s constitutional rights occurred
 during his arrest, rather than while incarcerated, the Fourth and Fourteenth
 Amendments, rather than the Eighth Amendment, are the proper source of such
 rights applicable to Plaintiff’s excessive force . . . claim[].”), report and
 recommendation adopted, 2008 WL 4280095 (W.D.N.Y. Sept. 15, 2008), as amended
 (Sept. 16, 2008).
                                      32
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 33 of 55 PageID #: 855



 and district courts in the Circuit recognize the concept of ‘de

 minimis’    injury   and,    when    the       injury    resulting   from    alleged

 excessive force falls into that category, the excessive force claim

 is dismissed.” Lemmo v. McKoy, No. 08-CV-4264, 2011 WL 843974, at

 *5   (E.D.N.Y.     Mar.     8,    2011)    (collecting         cases);    see    also

 Higginbotham v. City of New York, 105 F. Supp. 3d 369, 376

 (S.D.N.Y. 2015) (“Courts in this District have routinely dismissed

 excessive force claims where the plaintiff alleged that he was

 thrown to the ground, but did not allege any physical injuries.”

 (collecting cases)).

                   Plaintiffs Jackson, S. Jones, and B. Jones assert

 that defendants used excessive force by: (1) using handcuffs

 improperly and (2) throwing the plaintiffs to the ground in the

 course of arresting them. The court addresses these two allegations

 in turn.

       A.    Handcuffs

             “Although      handcuffs      must    be    reasonably   tight      to   be

 effective,    overly      tight   handcuffing          can   constitute   excessive

 force.” Lynch ex rel. Lynch v. City of Mount Vernon, 567 F. Supp.

 2d 459, 468 (S.D.N.Y. 2008) (collecting cases). In assessing the

 reasonableness of handcuffing, courts consider: 1) whether the

 handcuffs were unreasonably tight; 2) whether a defendant ignored

                                           33
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 34 of 55 PageID #: 856



 pleas that the handcuffs were too tight; and 3) the degree of

 injury to the wrists. See Esmont v. City of New York, 371 F. Supp.

 2d 202, 215 (E.D.N.Y. 2005); Lynch, 567 F. Supp. 2d at 468. “The

 injury requirement is particularly important, because in order to

 be   effective,   handcuffs    must   be   tight   enough   to   prevent   the

 arrestee’s hands from slipping out.” Morocho v. New York City, No.

 13-CV-4585,    2015   WL   4619517,   at   *8   (S.D.N.Y.   July   31,   2015)

 (internal quotations and citations omitted).          Furthermore, “there

 is a consensus among district courts in this circuit that a claim

 of excessive force is not established by allegations that overly

 tight handcuffs caused minor, temporary injuries.” Gonzalez v.

 Bronx Cty. Hall of Justice Court Officer Mark Hirschman Shield

 7421, No. 15-CV-810, 2016 WL 354913, at *4 (S.D.N.Y. Jan. 28, 2016)

 (internal quotation marks, citation, and alteration omitted). For

 example, in Gonzalez, a plaintiff brought a claim of excessive

 force, alleging that her handcuffs were too tight and that she had

 suffered “bruising and abrasions to her wrists” as a result. Id.

 The court granted the officers’ motion to dismiss because the

 plaintiff had not alleged that she asked the officers to loosen

 her handcuffs and because the alleged bruising and abrasions were

 “precisely the type of minor injuries routinely held by courts in



                                       34
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 35 of 55 PageID #: 857



 this circuit to be insufficient to state a claim of excessive

 force.” Id.

             Here, plaintiffs’ only allegations regarding the use of

 handcuffs is that they were “placed in handcuffs.” (S. Jones. Am.

 Compl. ¶ 46; B. Jones Am. Compl. ¶ 46; Jackson Am. Compl. ¶ 46.)

 Plaintiffs’ allegations fall far short of the more substantial,

 serious, and particularized allegations in Gonzalez, in which the

 plaintiff nevertheless failed to state an excessive force claim.

 See Gonzalez, 2016 WL 354913, at *4. Plaintiffs do not allege that

 they asked the police officers to remove or loosen the handcuffs,

 and plaintiff have not plausibly pled that they suffered any injury

 as a result of the handcuffs. See id. Plaintiffs’ conclusory

 allegations regarding handcuffs cannot support an excessive force

 claim.

       B.    Violent Shoving

             Plaintiffs’ only other allegation related to excessive

 force is that they were “thrown to the floor” or “thrown violently

 to the floor.” (See Jackson Am. Compl. ¶¶ 48, 52 (“thrown to the

 floor”);    S.   Jones   Am.   Compl.   ¶ 46   (“thrown   violently   to   the

 floor”);    B.   Jones   Am.   Compl.   ¶ 46   (“thrown   violently   to   the

 floor”).) Plaintiffs, however, have not explained the nature of

 any injuries they suffered as a result of being “thrown to the

                                         35
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 36 of 55 PageID #: 858



 floor.” Instead, they assert in a conclusory fashion that they

 suffered    from   “serious     personal    injuries,”   “physical    harm,”

 “emotional harm,” and “great mental anguish.” (Jackson Am. Compl.

 ¶¶ 4, 57, 73, 112, 142; see also S. Jones Am. Compl. ¶¶ 66, 75,

 85, 95, 113, 144; B. Jones Am. Compl. ¶¶ 66, 75, 85, 95, 113, 144.)

             Without     more,    the    above-quoted     allegations     are

 insufficient under Twombly. See Higginbotham, 105 F. Supp. 3d at

 376 (“Courts in this District have routinely dismissed excessive

 force claims where the plaintiff alleged that he was thrown to the

 ground, but did not allege any physical injuries.” (collecting

 cases)); see also Youngblood v. City of New York, No. 15-CV-3541,

 2016 WL 3919650, at *4 (S.D.N.Y. June 27, 2016) (finding that

 allegations of “physical and emotional injuries” arising from use

 of excessive force are no more than “labels and conclusions” under

 Twombly); Guerrero v. City of N.Y., No. 12-CV-2916, 2013 WL 673872,

 at *5 (S.D.N.Y. Feb. 25, 2013) (finding allegation that officers

 “physically abused” plaintiff and “threw him around like a toy”

 insufficient where plaintiff alleged no specific injury other than

 “mental and emotional harm”); Lyman v. City of Albany, 536 F. Supp.

 2d 242, 249 (N.D.N.Y. 2008) (dismissing excessive force claim where

 plaintiff alleged that he was “injured and subjected to physical



                                        36
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 37 of 55 PageID #: 859



 and mental pain and suffering, emotional distress, embarrassment,

 humiliation and fear”).

             Robison, 821 F.2d at 913, on which plaintiffs rely (see

 Pl. Opp’n at 5-6), does not dictate a different result. In Robison,

 the plaintiff’s excessive force claim survived summary judgment

 where she alleged that, during an arrest, an officer twisted her

 arm, “yanked” her, “threw [her] up against the fender” of a car,

 and “pushed” her. 821 F.2d at 916, 924. The Robison plaintiff

 alleged that she “suffered bruises lasting a ‘couple weeks.’” Id.

 She further specified that the bruising occurred on her hips and

 her wrists. Id. at 916. The allegations of force as well as

 physical injury were far more particularized in Robison than in

 the instant case, where plaintiffs have not identified either the

 specific type or location of their injuries.

             Neither    does    Maxwell,    380    F.3d   at   108-09,     aid

 plaintiffs.    In   Maxwell,    a   plaintiff’s   excessive    force    claim

 survived summary judgment in light of highly specific allegations

 that she: (1) was shoved head first into a police car; (2) hit her

 forehead on the partition; and (3) was taken to a hospital and

 “treated for pain in her lower back and left arm and for headache.”

 Id. By contrast, the boilerplate allegations of “physical harm,”

 “mental anguish,” and “emotional harm” here do not specify in any

                                       37
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 38 of 55 PageID #: 860



 detail    the   nature   of   the   plaintiffs’      injuries.   Accordingly,

 Jackson, S. Jones, and B. Jones’s federal excessive force claims

 arising from the April 26, 2012 incident must be dismissed.

             In addition, Jackson, S. Jones, and B. Jones bring state

 law claims for assault and battery arising from the April 26, 2012

 incident. The state law assault and battery claims, however, are

 subject to the same analysis the court employs to address the

 excessive force claims. See Graham v. City of New York, 928 F.

 Supp. 2d 610, 624 (E.D.N.Y. 2013) (“Federal excessive force claims

 and state law assault and battery claims against police officers

 are nearly identical.”). Accordingly, Jackson, S. Jones, and B.

 Jones’s state law assault and battery claims are dismissed. 12

             Plaintiffs     Jackson,    S.   Jones,    and   B.   Jones   will,

 however, be permitted leave to replead their excessive force claims

 should they choose to do so.




 12Plaintiff S.B. brings an excessive force claim arising out of the April 7,
 2012 incident, but provides no factual detail regarding any officer’s use of
 force. (See generally S.B. / R. Livingston Compl.) S.B.’s federal excessive
 force claim and related state law assault and battery claims are therefore
 dismissed. Further, even if R. Livingston, Thornton, T. Livingston, and
 Jackson’s federal excessive force claims arising from the April 7, 2012 incident
 could relate back as against the Doe Defendants, Officer Beierle, or Office
 Casey, their excessive force claims would fail for the same reasons discussed
 above with respect to Jackson, S. Jones, and B. Jones’s excessive force claims
 arising out of the April 26, 2012 incident. Their excessive force allegations
 lack sufficient factual detail to pass muster under Twombly. To the extent any
 plaintiffs asserts claims against the City Defendants arising from the use of
 excessive force, such claims fail for lack of alleged personal involvement.
                                       38
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 39 of 55 PageID #: 861




 V.     Malicious Prosecution Claims

             Plaintiffs R. Livingston, Thornton, and T. Livingston

 each    bring    claims   for     malicious   prosecution.   Plaintiffs    R.

 Livingston,      Thornton,      and   T.    Livingston    claim   they    were

 maliciously prosecuted in connection with their arrest on April 7,

 2012. (S.B. / R. Livingston Compl. ¶¶ 99-107; Thornton Compl.

 ¶¶ 94-102;      T.   Livingston    Compl.   ¶¶ 94-103.)   Plaintiff   Jackson

 appears to allege that she was maliciously prosecuted in connection

 with her arrests on both April 7, 2012 and April 26, 2012. (Jackson

 Am. Compl. ¶¶ 94-103.)

             To prevail on a malicious prosecution claim, a plaintiff

 must allege that each “(1) defendant initiated a prosecution

 against plaintiff, (2) without probable cause to believe the

 proceeding can succeed, (3) the proceeding was begun with malice,

 and (4) the matter terminated in plaintiff’s favor.” Rentas v.

 Ruffin, 816 F.3d 214, 220 (2d Cir. 2016) (internal quotation marks,

 citation, and alterations omitted). “The elements of malicious

 prosecution under section 1983 are ‘substantially the same’ as the

 elements under New York law; ‘the analysis of the state and the

 federal claims is identical.’” Bailey v. City of New York, 79 F.



                                        39
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 40 of 55 PageID #: 862



 Supp. 3d 424, 448 (E.D.N.Y. 2015) (quoting Boyd v. City of N.Y.,

 336 F.3d 72, 75 (2d Cir. 2003)).

             Defendants’      arguments          to      dismiss     the     malicious

 prosecution claims are principally directed to probable cause.

 (Def. Mem. at 26-31; Def. Reply at 8-13.) Defendants claim that

 plaintiff has not rebutted the presumption of probable cause that

 attaches after an indictment issues, as occurred here. Plaintiffs’

 opposition     only   addresses        the    federal        and   state    malicious

 prosecution claims asserted by R. Livingston, on the ground that

 R. Livingston’s factual allegations defeat the presumption of

 probable cause arising from the grand jury indictment. (Pl. Opp’n

 at 2-4.) Plaintiffs do not make any arguments opposing dismissal

 of the malicious prosecution claims asserted by Thornton, T.

 Livingston, or Jackson. (See generally Pl. Opp’n.)

              Plaintiffs’ malicious prosecution claims fail for three

 distinct reasons, as discussed in further detail below. First,

 plaintiffs fail to adequately allege the personal involvement of

 any   of   the    named   defendants          in     their    purported     malicious

 prosecutions.      Second,      to     the    extent      plaintiffs’       malicious

 prosecution      claims   are        premised      on    grand     jury    testimony,

 defendants are entitled to absolute immunity. Third, plaintiffs



                                          40
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 41 of 55 PageID #: 863



 fail to rebut the presumption of probable cause arising from the

 indictment.

       A.    Personal Involvement

             First, plaintiffs have failed to allege the personal

 involvement     of    any   of   the   defendants      in   their   respective

 prosecutions. “It is well settled in this Circuit that personal

 involvement of defendants in alleged constitutional deprivations

 is a prerequisite to an award of damages under § 1983.” Colon v.

 Coughlin, 58 F.3d 865, 873 (2d Cir. 1995).

             Plaintiffs      nowhere    allege    the    specific,    personal

 involvement of any of the defendants in the alleged malicious

 prosecutions. The allegations are functionally identical — and

 equally bare and conclusory — in each of the four complaints

 alleging malicious prosecution. (See R. Livingston / S.B. Compl.

 ¶¶ 99-107; Thornton Compl. ¶¶ 94-102; T. Livingston Compl. ¶¶ 94-

 103; Jackson Am. Compl. ¶¶ 94-103.) In R. Livingston’s complaint,

 for example, she alleges: (1) “plaintiff was maliciously and

 unlawfully prosecuted through perjured statements of the various

 agents,    servants     and/or   employees      of   the    defendants”;   (2)

 “defendants through their agents, servants and/or employees knew

 that said allegations . . . were false, malicious and perjured and

 were not the result of any illegal or wrong doing on the part of

                                        41
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 42 of 55 PageID #: 864



 the plaintiff”; and (3) “defendants herein through their agents,

 servants and/or employees continued to maliciously, falsely and

 illegally prosecute the plaintiff.” (R. Livingston / S.B. Compl.

 ¶¶ 100, 102-03.) The above-quoted allegations - which do not even

 directly name any of the defendants or allege the particular

 actions they undertook to maliciously prosecute plaintiff - are

 insufficient      under    Twombly    to    state   plausible      malicious

 prosecution claims. See, e.g., Barber v. Ruzzo, No. 10-CV-1198,

 2011 WL 4965343, at *2 (N.D.N.Y. Oct. 19, 2011) (“Simply stating

 that [defendants] were ‘personally and actively involved in the

 continuation of criminal proceedings against [a plaintiff],’ is

 grossly insufficient to establish personal involvement in the

 actual prosecution.”).

       B.    Grand Jury Immunity

             Second,    defendants    have   absolute    immunity   for   any

 testimony before the grand jury. See Rehberg v. Paulk, 132 S. Ct.

 1497, 1506 (2012) (“[A] grand jury witness has absolute immunity

 from any § 1983 claim based on the witness’ testimony.”). The

 Rehberg Court also explained that absolute immunity extends beyond

 actual testimony before a grand jury. See 132 S. Ct. at 1506-7.

 The absolute immunity also covers “preparatory activity, such as

 a preliminary discussion in which the witness relates the substance

                                      42
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 43 of 55 PageID #: 865



 of his intended testimony.” Id. (holding that absolute immunity

 “may not be circumvented by claiming that a grand jury witness

 conspired to present false testimony or by using evidence of the

 witness’ testimony to support any other § 1983 claim concerning

 the initiation or maintenance of a prosecution”). On the other

 hand, the immunity does not extend to, for example, preparation of

 false affidavits or the fabrication of evidence concerning an

 unsolved crime. See Kalina v. Fletcher, 522 U.S. 118, 129–131

 (1997); Buckley v. Fitzsimmons, 509 U.S. 259, 272-76 (1993);

 Coggins v. Buonora, 776 F.3d 108, 113 (2d Cir. 2015) (“If the claim

 exists independently of the grand jury testimony, it is not ‘based

 on’ that testimony, as that term is used in Rehberg.”).

             Plaintiffs’        allegations     supporting    their    malicious

 prosecution claims are mere boilerplate and fail to state plausible

 claims. As noted above, plaintiffs merely allege that they were

 “maliciously      and     unlawfully         prosecuted     through   perjured

 statements” and that “defendants through their agents, servants

 and/or   employees      knew   that   said    allegations . . . were    false,

 malicious and perjured.” (E.g., S.B. / R. Livingston Compl. ¶¶ 100,

 102.) Plaintiffs suggest, at least with respect to R. Livingston’s

 claims    (the   only    malicious     prosecution    claims     addressed   in

 plaintiffs’ opposition brief), that the allegations underpinning

                                        43
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 44 of 55 PageID #: 866



 the complaint relate to grand jury testimony covered by Rehberg.

 Plaintiffs argue that a plaintiff is “not required to provide . . .

 a detailed account of the precise mechanism whereby the grand jury

 was deceived.” (Pl. Opp’n at 4 (internal quotation marks, citation,

 and   alteration     omitted).)    Defendants    contend    that   plaintiffs’

 allegations solely pertain to conduct covered by Rehberg. (Def.

 Reply at 9 (“[P]laintiffs do not set forth a single allegation to

 show that their purported malicious prosecution claims are ‘based

 on’ anything other than Grand Jury testimony.”).)

             The court, however, is not certain that the malicious

 prosecution allegations only relate to conduct covered by Rehberg.

 The purported “perjured statements,” for example, could well be

 false affidavits filled out by a defendant, an action that would

 fall outside of the absolute immunity conferred by Rehberg. See

 Kalina, 522 U.S. at 129–31. The court is therefore unwilling to

 rest dismissal of the malicious prosecution claims entirely on the

 grounds of absolute immunity. See McLennon v. New York City, No.

 13-CV-128, 2015 WL 1475819, at *8 n.19 (E.D.N.Y. Mar. 31, 2015)

 (“[B]ecause    the    Amended     Complaint    alleges   misconduct    by   the

 officer    defendants    including    the     fabrication   of   evidence   and

 withholding of material exculpatory evidence from prosecutors,

 separate from the officers’ alleged perjury before the grand jury

                                       44
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 45 of 55 PageID #: 867



 and during other trial proceedings, the court declines to dismiss

 plaintiffs’       malicious       prosecution     claim    on    absolute     immunity

 grounds     at    this     juncture.”).      To   the     extent,       however,   that

 plaintiffs’       claims    are    predicated     on    testimony       by   defendants

 before the grand jury and other conduct covered by Rehberg, the

 court concludes that their malicious prosecution allegations fail

 to state a claim. 13

        C.   Presumption of Probable Cause

             Finally, plaintiffs’ malicious prosecution claims also

 fail because they have not adequately rebutted the presumption of

 probable cause that attached after the indictment issued. “‘Once

 a suspect has been indicted . . . the law holds that the Grand

 Jury action creates a presumption of probable cause.’” Rothstein

 v. Carriere, 373 F.3d 275, 282–83 (2d Cir. 2004) (quoting Colon v.

 City   of   New    York,    455    N.E.2d    1248,     1250     (N.Y.    1983)).   “The

 presumption may be overcome only by evidence establishing that the

 police witnesses have not made a complete and full statement of

 facts either to the Grand Jury or to the District Attorney, that



 13Although there had previously been some uncertainty regarding whether Rehberg
 applied to New York state law malicious prosecution claims, see Bonds v. City
 of New York, No. 12-CV-1772, 2014 WL 2440542, at *12 (E.D.N.Y. May 30, 2014),
 the New York Court of Appeals has since made clear that “a witness cannot be
 liable for malicious prosecution based on his or her false testimony at a trial
 or pretrial proceeding, such as a grand jury proceeding.” Torres v. Jones, 47
 N.E.3d 747, 767–68 (N.Y. 2016) (citing Rehberg, 132 S. Ct. at 1510).
                                             45
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 46 of 55 PageID #: 868



 they have misrepresented or falsified evidence, that they have

 withheld evidence or otherwise acted in bad faith.” Id. at 283

 (internal quotation marks and citation omitted). Even at the

 pleading stage, plaintiffs must plausibly allege facts that can

 rebut the presumption of probable cause. See Bond v. City of New

 York, No. 14-CV-2431, 2015 WL 5719706, at *7 (E.D.N.Y. Sept. 28,

 2015).

             Here, plaintiffs R. Livingston, Thornton, T. Livingston,

 and Jackson admit they were indicted by a grand jury. (S.B. / R.

 Livingston Compl. ¶ 70; Thornton Compl. ¶ 65; T. Livingston Compl.

 ¶ 65;    Jackson     Am.    Compl.   ¶ 67;   see    also   Indictment.).   The

 presumption of probable cause, therefore, attached. Plaintiffs’

 allegations — outlined above — are far too conclusory to rebut the

 presumption     of        probable   cause   that    arose    following    the

 indictments. None of the allegations even suggest the nature of

 the purported misconduct. Accordingly, plaintiffs have failed to

 rebut the presumption of probable cause. See Bond, 2015 WL 5719706,

 at *7 (dismissing complaint where plaintiff “asserted no facts in

 his   complaint      or    otherwise,   other   than   his   attorney’s    own

 conjecture, to suggest that any of the officers involved in this

 prosecution engaged in . . . intentional misconduct that rises to

 the level required for a malicious prosecution claim”); Stukes v.

                                         46
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 47 of 55 PageID #: 869



 City of New York, No. 13-CV-6166, 2015 WL 1246542, at *6 (E.D.N.Y.

 Mar. 17, 2015) (finding that plaintiff’s malicious prosecution

 claim failed “to plausibly suggest that his grand jury indictment

 was procured by fraud, perjury, the suppression of evidence, or

 other bad faith police conduct” despite plaintiff’s allegations

 that the assistant district attorney presented “false-facts” to

 the     grand   jury   and    that    the   defendants    failed    to    submit

 “exculpatory evidence” to the grand jury); see also Simmons v. New

 York City Police Dep’t, 97 F. App’x 341, 343 (2d Cir. 2004)

 (“Although      [plaintiff]    testified     that   the   arresting      officer

 addressed him using racial epithets and told him that the officers

 would    falsify   evidence     and   manipulate    line-ups   in     order   to

 implicate him, this allegation is not, without more, sufficient to

 raise an inference that the indictment was procured by fraud or

 bad faith conduct.”). Accordingly, R. Livingston, Thornton, T.

 Livingston, and Jackson’s malicious prosecution claims must be

 dismissed.

             As noted above, the “elements of malicious prosecution

 under section 1983 are substantially the same as the elements under

 New York law; the analysis of the state and the federal claims is

 identical.” See Bailey, 79 F. Supp. 3d at 448 (internal quotation

 marks and citation omitted). To the extent plaintiffs sought to

                                        47
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 48 of 55 PageID #: 870



 assert state law malicious prosecution claims in their complaints,

 such claims are dismissed for the same reasons provided above. See

 Smith v. City of New York, No. 04-CV-3286, 2010 WL 3397683, at *14

 (S.D.N.Y. Aug. 27, 2010) (“Because plaintiff’s federal claims for

 false arrest [and] malicious prosecution . . . are dismissed on

 summary judgment . . . to the extent plaintiff brings analogous

 state law claims, those claims are dismissed as well because the

 elements are the same.”). 14

 VI.   Failure to Intervene Claims

             All plaintiffs also bring failure to intervene claims.

 Plaintiffs’ failure to intervene claims fail in the absence of an

 adequately pled underlying constitutional violation. See Taveres

 v. City of New York, No. 08-CV-3782, 2010 WL 234974, at *4

 (S.D.N.Y. Jan. 19, 2010) (recognizing that failure to intervene

 claim requires, inter alia, that officers failed to intervene to

 prevent   another    officer’s   constitutional     violation);    see   also

 Ladoucier v. City of New York, No. 10-CV-5089, 2011 WL 2206735, at

 *4 (S.D.N.Y. June 6, 2011) (same). Accordingly, the failure to

 intervene claims are dismissed.




 14Because the court finds that R. Livingston’s state law malicious prosecution
 claim fails on the merits, the court does not address R. Livingston’s argument
 that she complied with New York’s notice of claim requirement regarding the
 malicious prosecution claim. (Pl. Opp’n at 2-3.)
                                      48
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 49 of 55 PageID #: 871



 VII. Conspiracy Claims

             Plaintiffs S.B., R. Livingston, Thornton, and Jackson

 assert federal conspiracy claims under 42 U.S.C. §§ 1985(3) and

 1983. S.B., R. Livingston, and Thornton assert conspiracy claims

 against the City Defendants and the Doe Defendants (e.g., S.B. /

 R.   Livingston    Compl.    ¶¶ 135-47),     while    Jackson   asserts    her

 conspiracy claim against the City Defendants as well as the Doe

 Defendants,    Officer   Casey,    and    Officer    Beierle.   (Jackson   Am.

 Compl. ¶¶ 131-37.) All of plaintiffs’ conspiracy claims, however,

 are barred by the intracorporate conspiracy doctrine.

             The intracorporate conspiracy doctrine “bars conspiracy

 claims alleging concerted action by employees and/or the heads of

 various departments within a single municipal entity, at least

 where the complaint fails to allege that the various [municipal]

 entities were effectively acting as separate entities in carrying

 out the alleged conspiracy.” Dunlop v. City of New York, No. 06-

 CV-433, 2008 WL 1970002, at *9 (S.D.N.Y. May 6, 2008). Defendants

 here are all employees of a single municipal entity, the City.

 There are no allegations that they were acting as separate entities

 during the conspiracy. Accordingly, plaintiffs’ conspiracy claims

 are barred by the intracorporate conspiracy doctrine and must be

 dismissed. See, e.g., Rodriguez v. City of New York, 644 F. Supp.

                                      49
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 50 of 55 PageID #: 872



 2d    168,   200–01    (E.D.N.Y.      2008)     (dismissing     conspiracy       claims

 against police officers and administrators under intracorporate

 conspiracy doctrine); see also Hartline v. Gallo, 546 F.3d 95, 99

 n.3 (2d Cir. 2008) (intracorporate conspiracy doctrine barred

 conspiracy claims where the defendants — police officers, a police

 chief, the police department, and the village — were all members

 of a single municipality).

 VIII.          Municipal Liability Claims

                Plaintiffs also each assert municipal liability claims

 against the City of New York. Because plaintiffs have failed to

 state    a     claim   for     the    violation      of   an   underlying      federal

 constitutional or statutory right, they cannot hold the City

 accountable via municipal liability under Monell, 436 U.S. at 690.

 See City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986)

 (recognizing      that    a    plaintiff      who   cannot     show   an     underlying

 violation of a constitutional right cannot succeed on a Monell

 claim); see also Jackson v. Vill. of Ilion, New York, No. 14-CV-

 563, 2016 WL 126392, at *9 (N.D.N.Y. Jan. 11, 2016) (“Since there

 has     been    no     underlying      federal       constitutional          violation,

 plaintiff’s      Monell       claim   against       the   Village     must    also   be

 dismissed.”). Accordingly, plaintiffs’ municipal liability claims

 are all dismissed.

                                            50
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 51 of 55 PageID #: 873



 IX.   Supervisory Liability Claims

             To the extent plaintiffs seek to assert supervisory

 liability claims under § 1983, such claims also fail. Defendants

 argue that plaintiffs’ claims against the City Defendants should

 be dismissed for failure to allege personal involvement. (Def.

 Mem. at 41-43.) Plaintiffs do not oppose defendants’ motion to

 dismiss    the    supervisory   liability      claims.   (See   generally   Pl.

 Opp’n.)

             “It    is   well   settled    in   this   Circuit   that   personal

 involvement of defendants in alleged constitutional deprivations

 is a prerequisite to an award of damages under § 1983.” Wright v.

 Smith, 21 F.3d 496, 501 (2d Cir. 1994) (internal quotation marks

 and citation omitted). Although respondeat superior is not a theory

 of liability for a § 1983 claim,

       supervisory personnel may nonetheless be considered
       “personally involved” if a plaintiff can show: (1) the
       defendant   participated   directly   in   the   alleged
       constitutional violation; (2) the defendant, after being
       informed of the violation through a report or appeal,
       failed to remedy the wrong; (3) the defendant created a
       policy or custom under which unconstitutional practices
       occurred, or allowed the continuance of such a policy or
       custom; (4) the defendant was grossly negligent in
       supervising subordinates who committed the wrongful
       acts; or (5) the defendant exhibited deliberate
       indifference to plaintiff’s rights by failing to act on
       information indicating that unconstitutional acts were
       occurring.


                                          51
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 52 of 55 PageID #: 874



 Rheaume v. Hofmann, No. 10-CV-318, 2011 WL 2947040, at *3 (D. Vt.

 June   6,   2011)   (citing    Colon,     58   F.3d   at   873),   report   and

 recommendation adopted, 2011 WL 2940319 (D. Vt. July 19, 2011).

             Plaintiffs assert only conclusory and vague allegations

 against the City Defendants, which are identical in each operative

 complaint. For example, in their most detailed allegation against

 the City Defendants, plaintiffs assert that “Raymond Kelly, Rafael

 Pineiro and Joseph Esposito and the John Doe Supervisors are

 responsible for the practices, policies and customs of the New

 York City Police Department, as well as for the hiring, screening,

 training, supervising, controlling, retaining and disciplining of

 the persons employed by the New York City Police Department.” (S.B.

 / R. Livingston Compl. ¶ 20; Thornton Compl. ¶ 19; T. Livingston

 Compl. ¶ 19; Jackson Am. Compl. ¶ 21; S. Jones Am. Compl. ¶ 19; B.

 Jones Am. Compl. ¶ 19.)

             Plaintiffs’ allegations are wholly inadequate to state

 a claim for supervisory liability under § 1983. See Scaggs v. New

 York Dep’t of Educ., No. 06–CV–0799, 2007 WL 1456221 at *18

 (E.D.N.Y. May 16, 2007) (“In plaintiffs’ blanket allegations of

 supervisory     liability     against    all   defendants,    they   fail   to

 indicate personal involvement by any of the named defendants. The

 complaint does not indicate the role of such defendants in failing

                                         52
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 53 of 55 PageID #: 875



 to prevent constitutional violations. . . . Plaintiffs’ conclusory

 allegations are insufficient to plead Section 1983 claims of

 supervisory liability as to the individually-named defendants.”);

 Bertuglia, 839 F. Supp. 2d at 723 n.4 (“It is insufficient for the

 plaintiffs to rely on group pleading against [defendants] without

 making     specific      factual           allegations      [against       them].”).

 Accordingly, the supervisory liability claims are dismissed.

 X.    Supplemental Jurisdiction

             Because    the       court   has    dismissed   all    of     plaintiffs’

 federal    claims,    the    court       declines   to   exercise       supplemental

 jurisdiction over the balance of plaintiffs’ state law claims. See

 Lanza v. Merrill Lynch & Co., 154 F.3d 56, 61 (2d Cir. 1998)

 (recognizing that state law claims should generally be dismissed

 when all federal claims are dismissed); Lizarraga v. Cent. Parking,

 Inc. - Waldorf Astoria Hotel, No. 13-CV-4703, 2014 WL 2453303, at

 *3    (S.D.N.Y.   June      2,     2014)     (“Because   the      Court    dismisses

 [plaintiff’s] federal claims, it declines to exercise supplemental

 jurisdiction over his state and city claims.”).

 XI.   Leave to Amend

             Under Fed. R. Civ. P. 15(a), a court “should freely give

 leave [to amend] when justice so requires.” Although “it is the

 usual practice upon granting a motion to dismiss to allow leave to

                                            53
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 54 of 55 PageID #: 876



 replead, such leave should be denied where the proposed amendment

 would be futile.” Fuji Photo Film U.S.A., Inc. v. McNulty, 640 F.

 Supp. 2d 300, 322 (S.D.N.Y. 2009) (internal quotation marks,

 citation, and alteration omitted).

             An amendment to a pleading is “futile where the claim is

 barred by the applicable statute of limitations period.” Sepulveda

 v. City of New York, No. 01-CV-3117, 2003 WL 22052870, at *2

 (S.D.N.Y. Sept. 2, 2003). Because any federal claims against the

 Doe Defendants, Officer Beierle, or Officer Casey arising from the

 April 7, 2012 incident would be time-barred, such claims must be

 dismissed with prejudice. Further, any amendment against the City

 Defendants for federal claims arising from the April 7, 2012

 incident would be futile.

             With regard to claims arising from the April 26, 2012

 incident, Jackson, S. Jones, and B. Jones have already had an

 opportunity to amend their complaint. In the interests of justice,

 however, Jackson, S. Jones, and B. Jones will be permitted leave

 to replead their excessive force claims arising from the April 26,

 2012 incident. Leave to amend all other claims arising from the

 April 26, 2012 incident is denied.

                                  CONCLUSION

             For the foregoing reasons, defendants’ motion to dismiss

                                      54
Case 1:14-cv-01021-KAM-PK Document 38 Filed 08/29/16 Page 55 of 55 PageID #: 877



 is GRANTED. Because the court has dismissed all federal claims in

 this     action,   the   court   declines    to   exercise     supplemental

 jurisdiction over any remaining state law claims not explicitly

 addressed in this memorandum and order. Jackson, S. Jones, and B.

 Jones will be permitted leave to replead their excessive force

 claims arising from the April 26, 2012 incident. They must do so

 within 30 days of this order. The Clerk of Court is respectfully

 directed to: (1) restrict to the court and counsel plaintiffs’

 opposition brief, the declaration annexed to the opposition brief,

 and R. Livingston and S.B.’s complaint (No. 14-CV-1021, ECF Nos.

 1, 36); (2) enter judgment in each action; and (3) close these six

 related cases.

 SO ORDERED.


 Dated:      August 29, 2016
             Brooklyn, New York

                                     _________/s/_________________
                                     KIYO A. MATSUMOTO
                                     United States District Judge
                                     Eastern District of New York




                                      55
